            Case 6:21-cv-00528-ADA Document 27 Filed 09/11/21 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 BILLJCO, LLC
                                                     Civil Action No. 6:21-cv-00528-ADA
       Plaintiff,
                                                        AGREED SCHEDULING ORDER
       v.

 APPLE INC.,

       Defendant.



       Pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Court’s June 24, 2021

Standing Order Governing Proceedings-Patent Cases, the Court ORDERS that the following
schedule will govern deadlines in this matter:

            DEADLINE                                             ITEM
                                                                  8
         August 16, 2021            Plaintiff serves preliminary infringement contentions in the
                                    form of a chart setting forth where in the accused product(s)
                                    each element of the asserted claim(s) are found. Plaintiff shall
                                    also identify the earliest priority date (i.e. the earliest date of
                                    invention) for each asserted claim and produce: (1) all
                                    documents evidencing conception and reduction to practice for
                                    each claimed invention, and (2) a copy of the file history for
                                    each patent in suit.

         August 23, 2021            Case Management Conference

        October 19, 2021            Defendant serves preliminary invalidity contentions in the form
                                    of (1) a chart setting forth where in the prior art references each
                                    element of the asserted claim(s) are found, (2) an identification
                                    of any limitations the Defendant contends are indefinite or lack
                                    written description under section 112, and (3) an identification
                                    of any claims the Defendant contends are directed to ineligible
                                    subject matter under section 101. Defendant shall also produce
                                    (1) all prior art referenced in the invalidity contentions, and (2)
                                    technical documents, including software where applicable,
                                    sufficient to show the operation of the accused product(s).

        October 26, 2021            Parties exchange claim terms for construction.

                                                 1
 Case 6:21-cv-00528-ADA Document 27 Filed 09/11/21 Page 2 of 4




November 9, 2021     Parties exchange proposed claim constructions.
November 16, 2021    Parties disclose extrinsic evidence. The parties shall disclose
                     any extrinsic evidence, including the identity of any expert
                     witness they may rely upon with respect to claim
                     construction or indefiniteness. With respect to any expert
                     identified, the parties shall identify the scope of the topics for
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                     the witness’s expected testimony. With respect to items of
                     extrinsic evidence, the parties shall identify each such item by
                     production number or produce a copy of any such item if not
                     previously produced.
November 23, 2021    Deadline to meet and confer to narrow terms in dispute and
                     exchange revised list of terms/constructions.
December 2, 2021     Defendant files Opening claim construction brief, including any
                     arguments that any claim terms are not indefinite.

December 30, 2021    Plaintiff files Responsive claim construction brief.

 January 13, 2022    Defendant files Reply claim construction brief.

 January 27, 2022    Plaintiff files a Sur-Reply claim construction brief.


 February 3, 2022    Parties submit Joint Claim Construction Statement.

                     See General Issues Note #9 regarding providing copies of the
                     briefing to the Court and the technical adviser (if appointed).
 February 1, 2022    Parties submit optional technical tutorials to the Court and
                     technical adviser (if appointed).

February 10, 2022    Markman Hearing at 9:00 a.m. This date is a placeholder and
                     the Court may adjust this date as the Markman hearing
                     approaches.

February 15, 2022    Fact Discovery opens; deadline to serve Initial Disclosures per
                     Rule 26(a).

 March 25, 2022      Deadline to add parties.

  April 7, 2022      Deadline to serve Final Infringement and Invalidity
                     Contentions. After this date, leave of Court is required for any
                     amendment to Infringement or Invalidity contentions. This
                     deadline does not relieve the Parties of their obligation to
                     seasonably amend if new information is identified after initial
                     contentions.



                                  2
  Case 6:21-cv-00528-ADA Document 27 Filed 09/11/21 Page 3 of 4




   June 2, 2022       Deadline to amend pleadings. A motion is not required unless
                      the amendment adds patents or patent claims. (Note: This
                      includes amendments in response to a 12(c) motion.)
 August 11, 2022      Deadline for the first of two meet and confers to discuss
                      significantly narrowing the number of claims asserted and prior
                      art references at issue. Unless the parties agree to the narrowing,
                      they are ordered to contact the Court’s Law Clerk to arrange a
                      teleconference with the Court to resolve the disputed issues.

September 8, 2022     Close of Fact Discovery.

September 15, 2022    Opening Expert Reports.

 October 13, 2022     Rebuttal Expert Reports.

November 3, 2022      Close of Expert Discovery.

November 10, 2022     Deadline for the second of two meet and confers to discuss
                      narrowing the number of claims asserted and prior art
                      references at issue to triable limits. To the extent it helps the
                      parties determine these limits, the parties are encouraged to
                      contact the Court’s Law Clerk for an estimate of the amount of
                      trial time anticipated per side. The parties shall file a Joint
                      Report within 5 business days regarding the results of the meet
                      and confer.

November 17, 2022     Dispositive motion deadline and Daubert motion deadline.

                      See General Issues Note #9 regarding providing copies of the
                      briefing to the Court and the technical adviser (if appointed).
December 1, 2022      Serve Pretrial Disclosures (jury instructions, exhibits lists,
                      witness lists, discovery and deposition designations).

December 15, 2022     Serve objections to pretrial disclosures/rebuttal disclosures.

December 22, 2022     Serve objections to rebuttal disclosures and File Motions in
                      limine.

 January 9, 2023      File Joint Pretrial Order and Pretrial Submissions (jury
                      instructions, exhibits lists, witness lists, discovery and
                      deposition designations); file oppositions to motions in limine

 January 11, 2023     File Notice of Request for Daily Transcript or Real Time
                      Reporting. If a daily transcript or real time reporting of court
                      proceedings is requested for trial, the party or parties making
                      said request shall file a notice with the Court and e-mail the
                      Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com

                                   3
         Case 6:21-cv-00528-ADA Document 27 Filed 09/11/21 Page 4 of 4




                                   Deadline to meet and confer regarding remaining objections
                                   and disputes on motions in limine.
        January 17, 2023           File joint notice identifying remaining objections to pretrial
                                   disclosures and disputes on motions in limine.

 January 20, 2023 (or as soon as   Final Pretrial Conference. The Court expects to set this date at
          practicable)             the conclusion of the Markman Hearing.

  February 13, 2023 (or as soon    Jury Selection/Trial. The Court expects to set these dates at the
         as practicable)           conclusion of the Markman Hearing.



              11th
ORDERED this ______        September 2021.
                    day of _______,


                                               ________________________________
                                               ALAN D ALBRIGHT
                                               UNITED STATES DISTRICT JUDGE




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